      Case 2:18-cv-06689-SSV-DEK Document 1 Filed 07/13/18 Page 1 of 16




                           UNITED STATES DISTRICT COURT


                          EASTERN DISTRICT OF LOUISIANA


MARLIN N. GUSMAN                            *        CIVIL ACTION NO.:
IN HIS OFFICIAL CAPACITY AS                 *
THE SHERIFF OF THE PARISH                   *
OF ORLEANS                                  *
                                            *

                                            *


VERSUS                                      *        JUDGE
                                            *


THE NEW YORK TIMES COMPANY,                 *
JONAH M.KESSEL,TAIGE JENSEN,                *
LEAH VARJACQUES,JAPHET                      *
WEEKS,AND RODNEY ROUSSELL                   *        MAGISTRATE
                                            *




                                        COMPLAINT


       NOW INTO COURT, through undersigned counsel comes plaintiff, MARLIN N.

GUSMAN, in his official capacity as the Sheriff of the Parish of Orleans, who respectfully

represents as follows:

                                       JURISDICTION


                                                1.


       Jurisdiction exists in this Honorable Court pursuant to 28 U.S.C. § 1332 and the

Constitution and laws of the United States of America; defendants specifically and purposefully

targeted residents and a political subdivision of the State of Louisiana, with full knowledge and

intent that the effects of their actions would be felt in the State of Louisiana, and therefore

purposefully availed themselves of the jurisdiction of this Honorable Court. See, e.g. Calder v.

Jones,465 U.S. 783, 104 S.Ct. 1482, 79 L. Ed. 2d 804(1984). Plaintiffs aver that their damages

exceed the jurisdictional threshold of$75,000 xonder 28 U.S.C. § 1332.
Case 2:18-cv-06689-SSV-DEK Document 1 Filed 07/13/18 Page 2 of 16
Case 2:18-cv-06689-SSV-DEK Document 1 Filed 07/13/18 Page 3 of 16
Case 2:18-cv-06689-SSV-DEK Document 1 Filed 07/13/18 Page 4 of 16
Case 2:18-cv-06689-SSV-DEK Document 1 Filed 07/13/18 Page 5 of 16
Case 2:18-cv-06689-SSV-DEK Document 1 Filed 07/13/18 Page 6 of 16
Case 2:18-cv-06689-SSV-DEK Document 1 Filed 07/13/18 Page 7 of 16
Case 2:18-cv-06689-SSV-DEK Document 1 Filed 07/13/18 Page 8 of 16
Case 2:18-cv-06689-SSV-DEK Document 1 Filed 07/13/18 Page 9 of 16
Case 2:18-cv-06689-SSV-DEK Document 1 Filed 07/13/18 Page 10 of 16
Case 2:18-cv-06689-SSV-DEK Document 1 Filed 07/13/18 Page 11 of 16
Case 2:18-cv-06689-SSV-DEK Document 1 Filed 07/13/18 Page 12 of 16
Case 2:18-cv-06689-SSV-DEK Document 1 Filed 07/13/18 Page 13 of 16
Case 2:18-cv-06689-SSV-DEK Document 1 Filed 07/13/18 Page 14 of 16
Case 2:18-cv-06689-SSV-DEK Document 1 Filed 07/13/18 Page 15 of 16
Case 2:18-cv-06689-SSV-DEK Document 1 Filed 07/13/18 Page 16 of 16
